               Case 13-20147-RAM       Doc 54    Filed 12/09/14    Page 1 of 3




                             UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                       MIAMI DIVISION

In re:                                            CASE NO.: 13-20147-BKC-RAM
                                                  Chapter 7
ERNESTO SANTOMAURO
SSN: XXX-XX-6210
      Debtor.                    /

           TRUSTEE’S NOTICE OF (1) DETERMINATION OF ECONOMIC NON-
           VIABILITY; (2) ABANDONMENT OF SETTLEMENT AMOUNT OWED
          FROM DEBTOR AND ALL RECOVERY EFFORTS; AND (3) INTENT TO
                  CLOSE CASE AS ADMINISTRATIVELY INSOLVENT

               Pursuant to Bankruptcy Rule 6007, the proposed
               abandonment will be deemed approved without necessity
               of a hearing or order, if no objection is filed and served
               within 14 days after the date of service of this notice.

         Joel L. Tabas, as Chapter 7 Trustee of the Bankruptcy Estate of Ernesto

Santomauro ("Trustee"), pursuant to 11 U.S.C. § 554, Bankruptcy Rule 6007, and Local

Rule 6007-1, reports that in light of, among other things: (a) the Debtor’s payment default;

(b) the administrative expenses incurred to date; (c) the costs associated with continuing

collection efforts; and (d) the entry of the Court’s order denying the Debtor’s discharge [ECF

52], he intends to abandon the $3,000.00 settlement amount owed by the Debtor pursuant

to the Court’s Order Granting Trustee’s Motion to Approve Stipulation for Compromise and

Settlement Regarding Valuation and Repurchase of Debtor’s Non-Exempt Assets [ECF 40],

cease all further recovery efforts, and close this case. There will be no funds available for

distribution to creditors.

         Any objection to this notice of abandonment must be filed with the Clerk of the

Bankruptcy Court, 301 N. Miami Avenue, Room 150, Miami, FL 33128 and be served on the

Trustee at 14 NE 1st Avenue, Penthouse, Miami, FL 33132. Any such objection must state
              Case 13-20147-RAM        Doc 54     Filed 12/09/14   Page 2 of 3
                                                                CASE NO.: 13-20147-BKC-RAM


with specificity why the Remaining Settlement Balance should be pursued by the Estate and

how the objecting party intends to pursue and/or fund the collection process.

                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on December 9, 2014, a true and correct copy of the

foregoing was served via electronic transmission to the parties who are currently on the list

to receive e-mail notice/service for this case, via U.S. Mail to all interested parties on the

attached service list, and to:

Ernesto Santomauro
670 NW 114 AVE #201
Miami, FL 33172

Asset Acceptance LLC
PO Box 2036
Warren, MI 48090
                                                  /s/ Joel L. Tabas         _____
                                                  Joel L. Tabas, Trustee
                                                  Florida Bar No. 516902
                                                  14 N.E. 1st Avenue, Penthouse
                                                  Miami, Florida 33132
                                                  Telephone: (305) 375-8171
                                                  Fax: (305) 381-7708




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                                      Case 13-20147-RAM        Doc 54          Filed 12/09/14   Page 3 of 3

(p)BANK OF AMERICA                               (p)CAPITAL ONE                                  (p)WACHOVIA BANK NA
PO BOX 982238                                    PO BOX 30285                                    MAC X2303-01A
EL PASO TX 79998-2238                            SALT LAKE CITY UT 84130-0285                    1 HOME CAMPUS
                                                                                                 1ST FLOOR
                                                                                                 DES MOINES IA 50328-0001


American InfoSource LP as agent for              Asset Acceptance LLC                            Asset Acceptance Llc
T Mobile/T-Mobile USA Inc                        PO Box 2036                                     Po Box 1630
PO Box 248848                                    Warren, MI 48090-2036                           Warren, MI 48090-1630
Oklahoma City, OK 73124-8848




Baptiist Hospital Of Miami                       Bca Financial Services                          Cavalry Port
P.O. Box 198116                                  18001 Old Cutler Rd Ste                         500 Summit Lake Dr
Atalnta, GA 30384-8116                           Palmetto Bay, FL 33157-6437                     Valhalla, NY 10595-2322




Cavalry SPV I, LLC as assignee of TD Auto Fi     Cbe Group                                       Credit Management Lp
500 Summit Lake Drive Suite 400                  1309 Technology Pkwy                            4200 International Pkwy
Valhalla, NY 10595-1340                          Cedar Falls, IA 50613-6976                      Carrollton, TX 75007-1912




Credit Protection Asso                           Ernesto Santomauro                              Hsbc Bank
One Galleria Tower                               670 NW 114 Ave #201                             Po Box 5253
Dallas, TX 75240                                 Miami, Fl 33172-4719                            Carol Stream, IL 60197-5253




Midland Credit Mgmt In                           New Century Mortgage C                          New Century Mortgage C
8875 Aero Dr                                     18400 Von Karman Ave Ste                        210 Commerce
San Diego, CA 92123-2255                         Irvine, CA 92612-0516                           Irvine, CA 92602-1318




Nrs/receivia                                     Pablo Roger                                     Rjm Acq Llc
2810 Walker Rd                                   670 NW 114 Ave # 201                            575 Underhill Blvd Ste 2
Chattanooga, TN 37421-1082                       Miami, FL 33172-4719                            Syosset, NY 11791-3426




Santander Consumer Usa                           Santander Consumer USA Inc.                     Select Portfolio Svcin
Po Box 961245                                    P.O. Box 560284                                 Po Box 65250
Ft Worth, TX 76161-0244                          Dallas, TX 75356-0284                           Salt Lake City, UT 84165-0250




Southwest Credit Syste
5910 W Plano Pkwy
Plano, TX 75093-2202
